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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DE’KELVIN RAFAEL MARTIN,                )
                                        )
     Plaintiff,                         )
                                        )
v.                                      )           Civil Action No.
                                        )           1:18-cv-04617-MLB
TIMOTHY WARD, Commissioner,             )
     Georgia Department of Corrections; )
                                        )
                                        )
BENJAMIN FORD, Warden,                  )
     Georgia Diagnostic and             )
     Classification Prison;             )
                                        )
     Defendants.                        )
____________________________________)

      STIPULATION AND ORDER CONCERNING PROTOCOL FOR
                  CONDUCTING DEPOSITIONS

      Plaintiff De’Kelvin Rafael Martin and Defendants Timothy Ward and

Benjamin Ford (collectively, the “Parties”), by undersigned counsel, jointly stipulate

to the following protocol for conducting depositions in the above-captioned matter.

In order to permit Plaintiff to discover information relevant to his claims without

disclosing the identifying information of individuals and entities who participate in

or otherwise facilitate judicial executions, and pursuant to Rule 26(c) of the Federal

Rules of Civil Procedure, the Parties stipulate, and it is hereby ORDERED:

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      1.        Defendants will not be required to disclose to anyone, including

Plaintiff and counsel for Plaintiff:

           a.     the identity of any officers, employees, agents and/or contractors,
                  including Defendants’ employees, who have procured or presently
                  procure drugs, supplies, or equipment for use in lethal injections;

           b.     the identity of any officers, employees, agents and/or contractors
                  who administer Georgia’s current lethal injection protocol,
                  including any physicians, members of Defendants’ IV team and IV
                  Nurses, correctional officers who serve or have served on
                  Defendants’ Special Escort Team for executions, members of
                  Defendants’ Injection Team for Executions, or security personnel
                  who have participated or presently participate in executions, and
                  participants and supervisors in the Critical Incident Debriefing
                  Team meetings following executions;

           c.     the identity of all suppliers, manufacturers, and distributors involved
                  in Georgia’s current lethal injection protocol, including those who
                  supply equipment used under Georgia’s current lethal injection
                  protocol and provide, transport, and/or store active pharmaceutical
                  ingredients, drugs, or other substances;

           d.     the identity of all pharmacies and pharmacists who have
                  compounded drugs or other substances used in Georgia’s current
                  lethal injection protocol.

           e.     The identity of any person for whom Defendants reasonably believe
                  disclosure would lead to the discovery of any of those persons
                  identified above. In the event Defendants rely on this subparagraph
                  to avoid disclosure, Defendants shall be required to articulate the
                  good faith basis of their belief at the time of objection. The Parties
                  will meet and confer in good faith regarding any such objection.


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       2.     “Confidential Material” means documents, discovery responses,

electronically stored information, or other tangible things produced during discovery

as well as all testimony at any deposition or pretrial hearing or proceeding in this

action, whether in response to any discovery request or subpoena made pursuant to

the Federal Rules of Civil Procedure or otherwise, and any copies, abstracts,

excerpts, analyses, summaries, or other materials (whether in written, electronic, or

other form) which contain, reflect, or disclose information from such documents,

testimony or other materials. Should any Confidential Material be produced or

disclosed in connection with any deposition governed by this protocol, it shall be

held in confidence by the Parties and will be used solely for the purpose of this

litigation.

       3.     Plaintiff’s counsel will provide Defendants’ counsel a list of witnesses

for depositions identified by position or topic about which each witness shall be able

to testify.

       4.     In response to Plaintiff’s list of requested deposition witnesses, if

Defendants contend that any of their proposed witnesses are individuals that fall

within the categories defined in Paragraph 1, counsel for Defendants will provide

counsel for Plaintiff with a unique, anonymous identifier for each proposed witness,

as well as a general description of each person’s credentials or title as it relates to

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his or her duties under Georgia’s lethal injection protocol (for example “Nurse 1” or

“Emergency Medical Technician 1”), as well as his or her role(s) within the

execution team (for instance “Team Leader” or “Injection Team Member”).


           a.     Counsel for Plaintiff may not conduct investigations of those
                  individuals listed in Paragraph 1 in an effort to determine their
                  identities, including but not limited to contacting schools, former
                  employers, or credentialing agencies in an effort to obtain additional
                  information regarding these individuals. The Parties shall meet and
                  confer in good faith regarding inquiries into the education,
                  professional background, board certification, licensing or
                  credentialing of the individuals listed in Paragraph 1. Defendants
                  shall provide such information in the form of a written affidavit from
                  the witness at least seven (7) days prior to the deposition. The
                  Parties will meet and confer prior to the deposition about the
                  appropriate scope of inquiry into the same.

           b.     Plaintiff reserves the right to seek modification of the terms of
                  Paragraphs 1 and 4 if information is withheld to such an extent that
                  Plaintiff cannot ascertain whether the information has been properly
                  withheld in accordance with the terms of the Court’s March 30, 2021
                  Opinion & Order, Dkt. No. 73. Nothing in this Order shall be
                  construed to prevent Plaintiff from challenging the withholding of
                  any information by Defendants, including information pertaining to
                  any entity or individual listed in Paragraph 1 or offered by
                  Defendants as a witness.

      5.        If Defendants believe any individual identified by Plaintiff for

deposition falls within the categories listed in Paragraph 1, the Parties agree to

protect the identity of those individuals by using a mutually agreeable system that

will electronically alter the deponents’ voices and shield the deponents from view.


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      6.       Depositions in this matter are to be conducted via remote means using

secure videoconference technology. The deponent, court reporter, and counsel for

the Parties will each participate in the videoconference deposition remotely and

separately; provided, however, that Defendants’ counsel may participate in the same

room with any deponent who Defendants’ counsel represents. The court reporter

and any other videoconference support staff will sign the Confidentiality

Undertaking attached hereto as Exhibit A.

      7.       The deponent’s statements shall be audible to all participants, and they

should each strive to ensure their environment is free from noise and distractions.

      8.       No counsel shall initiate a private conference, including but not limited

to through text message, electronic mail, or the chat feature in the videoconferencing

system, with any deponent while a question is pending or while the deposition is on

the record. Should Defendants need to consult with the witness about privilege or

confidentiality matters, the Parties shall go off the record to allow for such

discussions.

      9.       Remote depositions shall be recorded by stenographic means consistent

with the requirements of Federal Rule of Civil Procedure 30(b)(3), but the court

reporter will not be required to be physically present with the deponent. The Parties

agree not to challenge the validity of any oath administered by the court reporter in

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any forum, even if the court reporter is not a notary public in the state where the

deponent resides.

      10.    The Parties agree that the court reporter is an “Officer” as defined by

Federal Rule of Civil Procedure 28(a)(2) and shall be permitted to administer the

oath to the deponent via the videoconference.

      11.    Every deponent shall have access to technology sufficient to appear for

a videotaped deposition (e.g., a webcam and computer and telephone audio), and

bandwidth sufficient to sustain the remote deposition. For any deponent whose

identity Defendants contend must be shielded from disclosure (including non-party

deponents), Defendants’ counsel shall consult with the deponent (or deponent’s

counsel if represented separately) prior to the deposition to ensure the deponent has

the required access to technology. If not, Defendants’ counsel shall make available

for the deponent the required technology prior to the deposition.

      12.    The Parties agree that this Stipulation and Order applies to remote

depositions of non-parties under Federal Rule of Civil Procedure 45 and that the

Parties shall work in a collaborative manner in attempting to schedule remote

depositions of non-parties. The Party noticing any non-party deposition shall

provide this Stipulation and Order to any non-party under Federal Rule of Civil

Procedure Rule 45 within a reasonable time before the date of the deposition.

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       13.    If Plaintiff believes that an individual’s identity is improperly withheld,

Plaintiff shall raise the matter with Defendants. The Parties shall engage in a good

faith effort to resolve the dispute. Should the Parties be unable to resolve the

objection informally, Plaintiff will promptly submit such dispute to the Court for

resolution. Until the Court resolves the dispute, the identities of any disputed

individuals shall be treated as protected and subject to the conditions set forth in this

Order. If a dispute arises during the course of the deposition, and the Court is not

available to resolve the objection, the Parties shall leave the deposition open until

the Court resolves the dispute.

       14.    This Protocol is without prejudice to the rights of any Party to make

any objection to discovery permitted by the Federal Rules of Civil Procedure, or by

any statute or other authority, or to the rights of any Party to make evidentiary

objections at trial.

       15.    Nothing in this Protocol may be construed as a ruling that any particular

document or item of information is or is not: (a) confidential; (b) privileged;

(c) relevant; (d) material to any matter at issue; (e) authentic; or (f) admissible in

evidence at trial or any hearing.

              This 11th day of May, 2022.

                                                /s/ John C. Toro
                                                John C. Toro
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                                  Counsel for Plaintiff

                                  AND


                                  /s/ Sabrina D. Graham
                                  Sabrina D. Graham
                                  Senior Assistant Attorney General
                                  40 Capitol Square, SW
                                  Atlanta, Georgia 30334

                                  Counsel for Defendants



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SO ORDERED this 11th day of May, 2022.




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                                       1
                                  MICH"K E L L. B R O W N




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                                  Exhibit A

               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DE’KELVIN RAFAEL MARTIN,                )
                                        )
     Plaintiff,                         )
                                        )
v.                                      )      Civil Action No.
                                        )      1:18-cv-04617-MLB
TIMOTHY WARD, Commissioner,             )
     Georgia Department of Corrections; )
                                        )
                                        )
BENJAMIN FORD, Warden,                  )
     Georgia Diagnostic and             )
     Classification Prison;             )
                                        )
     Defendants.                        )
____________________________________)

                  CONFIDENTIALITY UNDERTAKING

      I, _______________________________, being duly sworn, state that:

      1.    My address is

_______________________________________________.

      2.    My present employer is ___________________________ and the

address of my present employment is

_______________________________________________.
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      3.     My present occupation or job description is

_______________________.

      4.     I have carefully read and understood the provisions of the Stipulation

and Order Concerning Protocol for Conducting Depositions in this case signed by

the Court, and I will comply with all provisions of the Protocol.

      5.     I will hold in confidence and not disclose to anyone not qualified

under the Order the identities of individuals listed in Paragraph 1 and any other

Confidential Material disclosed to me.

      6.     I will limit use of Confidential Material disclosed to me solely for

purpose of this Action.

      7.     Upon receipt of written request by one of the Parties to this Action or

their Counsel of Record (listed in the Protective Order above), I will return, within

ten (10) business days, all Confidential Material and summaries, abstracts, and

indices thereof which came into my possession during this Action.

      8.     I understand that contempt sanctions may be entered for violation of

this Order and further agree to submit to the jurisdiction of this Court for the

purposes of enforcement of the terms of this Order.

      I declare under penalty of perjury that the foregoing is true and correct.




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Dated:        ____________________


     __________________________
     [Signature]




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